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UNITED STATES DISTRICT COURT FE} L E rn
SOUTHERN DISTRICT OF INDIANA Ns as Hae
INDIANAPOLIS DIVISION SEP 9 4 202t
UNITED STATES OF AMERICA, ) U.S. CLERK'S gg
) EVANSVILLE: INDIANA
Plaintiff, )
)
ve ) CAUSENO, 1:20-er- QHI- JV “The
,
DARELL ROLAND, )
; )
Defendant. )
INDICTMENT

[18 U.S.C. § 922(2)(1)]
[Felon in Possession of a Firearm]

The Grand Jury charges that:

On or about July 9, 2020, within the Southern District of Indiana, DARELL ROLAND,
the defendant herein, did knowingly possess in commerce and affecting commerce one or more
firearms, to wit:

One Masterpiece Arms 45 ACP, and/or

One Taurus G2 9mm handgun,
after knowingly having been convicted of one or more felony crimes punishable by
imprisonment for a term exceeding one (1) year, to wit:

Robbery in Cause Number 45G02-0908-FB-000090, Lake County, Indiana, on or
about August 9, 2011,

in violation of Title 18, United States Code, Section 922(g)(1).

 

 
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FORFEITURE
1. Pursuant to Federal Rule of Criminal Procedure 32.2, the United States hereby
gives the defendant notice that the United States will seek forfeiture of property, criminally
and/or civilly, pursuant to Title 18, United States Code, Section 924(d) and Title 28, United
States Code, Section 2461(c), as part of any sentence imposed.
2. Pursuant to Title 18, United States Code, Section 924(d), if convicted of the
Count in this Indictment, the defendant shall forfeit to the United States “any firearm or
ammunition involved in” the offense.
3, The property subject to forfeiture includes, but is not necessarily limited to, the
following:
a. One Masterpiece Arms 45 ACP bearing serial number A16299;
b. One Taurus G2 9mm handgun bearing serial number TLM61089; and
C. Any ammunition associated with the offense.
4, In addition, the United States may seek civil forfeiture of the property described
above in paragraph 3 pursuant to Title 18, United States Code, Section 924(d) and Title 28,

United States Code, Section 2461(c).

 

JOSH J. MINKLER

      
  

 

 

Assistant United States Attorney

 
